                                             UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF MICHIGAN (Detroit)

                         In re:                                            Chapter 7 No. 18-51298-pjs
                         Joanne E. Ackerman
                                           Debtor.                         Hon. Phillip J. Shefferly
                         ______________________________/

                          CREDITOR’S RESPONSE TO CHAPTER 7 TRUSTEE’S APPLICATION TO
                         RETAIN BK GLOBAL REAL ESTATE SERVICES AND REMAX CROSSROADS
                                     III TO PROCURE CONSENTED PUBLIC SALE
                                      PURSUANT TO 11 U.S.C. §§ 327, 328 AND 330

                                NOW COMES Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through its

                         attorneys, Trott Law, P.C., and hereby responds to Chapter 7 Trustee’s Application to

                         Retain BK Global Real Estate Services and Remax Crossroads III to Procure Consented

                         Public Sale Pursuant to 11 U.S.C. §§327, 328 and 330 as follows:

                                1. That Creditor is holder of a mortgage on real property owned by the Debtor and

                         located at 630 E. 3rd St., Monroe, MI 48161;

                                2. That the Chapter 7 Trustee filed this Motion on May 21, 2019, to which

                         Creditor is now responding;

                                3. The Chapter Trustee’s Motion seeks consent to market and sell the subject

                         property and compensate BK Global Real Estate Services and Remax Crossroads III;

                                4. Creditor requests confirmation that if a successful purchaser is found the

                         Chapter 7 Trustee will file a separate motion for approval to sell the subject property which
   TROTT LAW, P.C.
 31440 NORTHWESTERN      discloses the purchase amount;
  HIGHWAY, SUITE 145
FARMINGTON HILLS, MI
      48334-5422                5. Creditor requests confirmation that the Chapter 7 Trustee will obtain current and
  PHONE 248.642.2515
FACSIMILE 248.642.3628
                         unexpired payoff figures, from the Creditor, prior to closing;

                                6. Creditor requests confirmation that the Creditor will be paid in full at closing;




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                                7. Creditor objects to any proposed short sale of the property and further states that

                         any short sale of the payoff amount is subject to written consent/approval of Nationstar

                         Mortgage LLC d/b/a Mr. Cooper;

                                8. Creditor requests that any Order approving this Motion provide a closing date;

                                9. Creditor requests that any Order approving this Motion expire ninety (90) days

                         after entry;

                                WHEREFORE, Creditor prays that any Order entered pursuant to Chapter 7

                         Trustee’s Application to Retain BK Global Real Estate Services and Remax Crossroads III

                         to Procure Consented Public Sale Pursuant to 11 U.S.C. §§327, 328 and 330 be

                         AMENDED to include the above provisions and for whatever fair and equitable relief this

                         Court may so order.



                                                                             Respectfully Submitted,
                                                                             TROTT LAW, P.C.


                         Dated: June 3, 2019                                  /S/
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